
546 N.W.2d 366 (1996)
CITY OF BISMARCK, Plaintiff and Appellee,
v.
Ronald E. STUART, Defendant and Appellant.
Criminal No. 950383.
Supreme Court of North Dakota.
April 23, 1996.
*367 Paul H. Fraase (argued), City Prosecutor, Bismarck, for plaintiff and appellee.
Ronald E. Stuart (argued), Valley City, pro se for defendant and appellant.
PER CURIAM.
Ronald Stuart appeals from his conviction for driving while under suspension. Stuart argues that he has a constitutional right to operate an automobile on public roads without a driver's license. No court has ever held that it is an impermissible infringement upon a citizen's constitutional Right to Travel for the Legislature to decree that, unless exempted by statute, every person who operates a motor vehicle on public roads must have a valid operator's license, as NDCC 39-06-01 and following sections mandate. See State v. Skurdal, 235 Mont. 291, 767 P.2d 304 (1988); City of Salina v. Wisden, 737 P.2d 981, 983 (Utah 1987); Boutin v. Conway, 153 Vt. 558, 572 A.2d 905, 909 (1990). The Legislature has the constitutional police power to ensure safe drivers and safe roads. State v. Kouba, 319 N.W.2d 161, 163 (N.D.1982). We affirm under NDRAppP 35.1(a)(7). State v. Stuart, 544 N.W.2d 158 (N.D.1996).
We order that this decision be published in the regular manner. See NDRAppP 35.1(b).
VANDE WALLE, C.J., and MESCHKE, SANDSTROM, NEUMANN and MARING, JJ., concur.
